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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

Civil Division

Lisa K Holden

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint,
Of the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

 

Williams & Connolly LLP

Defendant(s)
(Write the full name of each defendant who is being sued, If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

Case: 1:19-cv—03055 JURY DEMAND
Assigned To : Jackson, Ketanji Brown

Assign. Date : 10/6/2019 .
Description: Pro Se Gen Civ. (F-DECK)

Jury Trial: (check one) Yes [[] No

Nemo Nee Nee See Nee” Nee Nee Nee ee ee” ee ee ee ee ee

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint

A. The Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

The Defendant(s)

LisaK Holden |
720 North Carolina Avenue, SE
Washington, DC
DC 20003
202-823-2692
55649604z/@gmail.com

 

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name Williams & Connolly LLP

Job or Title (known) Plan Administrator and Fiduciary
Street Address 725 12th Street, NW

City and County Washington, DC

State and Zip Code DC 20005

Telephone Number 202-434-5000

E-mail Address (if known) jscott@wc.com

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title @fknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[x] Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

29 CFR Part 825 - The Family and Medical Leave Act of 1993, Interference with FMLA Rights
29 CFR 825.200

29 CFR 825.207

29 CFR 825.220

29 CFR 825.300

29 CFR 825.301

29 CFR 825.400

29 CFR 107

26 CFR 105

26 CFR 1.125-3

 

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the

 

State of (name) Washington, DC

 

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

Til.

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) - —_ , iS a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

b. If the defendant is a corporation
The defendant, (name) Williams & Connolly LLP , is incorporated under
the laws of the State of (name) | Washington, DC , and has its

 

principal place of business in the State of (name) Washington, DC

Or is incorporated under the laws of (foreign nation) 3

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3, The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

$1,387,084.10 is the value of the lost benefits in the Williams & Connolly Long-Term
Disability Insurance Plan as a result of interference.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

See Attached

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time, Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

See Attached

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
] agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 10/06/2019

Signature of Plaintiff San / x Alakden, =

Printed Name of Plaintiff Lisa K . Holden

 

 

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

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State and Zip Code
Telephone Number
E-mail Address

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TII. Statement of Claim

Plaintiff began seeking FMLA leave on 8/13/15 due to a serious
medical condition. She signed a request for FMLA leave on 8/26/15.
Defendant never provided any of the required information about
FMLA to the Plaintiff and never provided written notice that FMLA
was even approved or designated. Normally, it may not matter if
FMLA leave is designated or not, but in this case it does matter.
This is because of two new, but retroactive plan amendments in
the defendant's long-term disability plan that require that all
benefits cease to be effective upon the employee's last day of
FMLA leave. Plaintiff was never made aware of these new plan
amendments, and in fact, when she did receive a copy of the plan's
summary plan description, the pages referencing what I have
termed the "FMLA clause" were missing. Plaintiff believes that
the Defendant intentionally concealed this information from her
and now wants to enforce this FMLA clause against her. Besides
having the agreement in place, the Defendant needs to have FMLA
approval or designation. However, I have never received proper
notice of FMLA approval or designation. I believe that it is part
of the FMLA interference that Defendant falsely claimed that
Plaintiff's FMLA leave was approved when in fact the Plaintiff
was never notified or in the case of Retroactive Designation, the
Plaintiff was never asked for her permission to designate the leave
as FMLA leave.

Also, if the Defendant had qualified Plaintiff's leaye in a timely
Manner as FMLA leave, the Williams & Connolly LLP Benefits Plan,

a cafeteria plan, states that the plan administrator is to provide
the employee with the opportunity to enter into a written leave
agreement wherein the benefits could be clearly laid out so that
there would be no confusion and this did not happen. Also, the
Plaintiff should have been informed at that time of this new

FMLA clause that would bring a cessation of benefits upon the last
day of FMLA. Through the Defendant's interference, none of this
came about. Defendant chose to withhold this information from
Plaintiff.

Two days before Plaintiff would have been approved for benefits in
the Williams & Connolly Long-Term Disability Plan, on 9/28/16,
Defendant and UNUM agreed to rescind Plaintiff's coverage in the
plan going back nine months to 12/10/15, the purported last day of
FMLA, and UNUM was discussing their providing a refund to Defendant
of all of the premiums that they had paid for that nine month
period. Plaintiff's benefit approval letter would have been dated
9/30/16, instead she received a letter of denial for coverage
reasons. When Plaintiff called UNUM to find out what had happened,
she was told that it was all a matter of policy.
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IV. Relief

Plaintiff has suffered a loss of benefits in the Williams ¢
Connolly LLP Long-Term Disability Plan valued at $1,370,636.
This loss was made known to Plaintiff on 10/6/16 and still
exists to this day.

Other more minor damages listed are for lost vacation accrual,
lost paid time off, improper handling of election status change
opportunities not provided, and lost tax savings as a result of
not being given the opportunity to prepay for premiums as is
required according to the Williams & Connolly LLP Benefits Plan.
These damages amount to $16,448.19

Plaintiff believes that she is entitled to actual damages and
punitive damages, if available, for the incredible amount of
manipulation and obfuscation that has occurred throughout the
whole process of applying for FMLA and attempting to attain a
benefit in an ERISA plan at the same time. There has been the
infliction of a great amount of emotional pain and suffering for
Plaintiff and her family in addition :toufinancial damages.
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Lisa Holden, Pro Se

720 North Carolina Avenue, SE
Washington, DC 20003
202-823-2692

UNITED STATED DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

LISA HOLDEN, Case No.: Number
Plaintiff,
vs.
WILLIAMS & CONNOLLY LLP, THE PLAN
ADMINISTRATOR AND FIDUCIARY FOR THE BENEFITS PLAN

Defendant

 

 

COMPLAINT FOR RECOVERY OF LOSS OF BENEFITS AND FOR THE ENFORCEMENT OF RIGHTS
UNDER THE FAMILY AND MEDICAL LEAVE ACT (“FMLA”) DUE TO WILLFUL INTERFERENCE

COMES NOW, Plaintiff, Lisa Holden, and makes the following representations to the Court for
the purpose of obtaining relief from Defendant’s willful interference with Plaintiff's rights under
the Family and Medical Leave Act (“FMLA”) 29 CFR Section 825.220 -Protection for employees

who request leave or otherwise assert FMLA rights:
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JURISDICTION AND VENUE

This Courts’ jurisdiction over the Plaintiff's claim for relief under the Family and Medical Leave
Act is invoked pursuant to section 107 which allows one to bring a claim under a Federal Court

where they reside. Plaintiff resides in Washington, D.C.
|. PARTIES

1. Plaintiff, LISA HOLDEN (hereinafter “Plaintiff”), is an individual who is currently and was

at all relevant times herein a resident of the city of Washington, DC.

2. Defendant, WILLIAMS & CONNOLLY LLP, THE PLAN ADMINISTRATOR AND FIDUCIARY
FOR THE BENEFITS PLAN (CAFETERIA PLAN), (hereinafter “Defendant”), is a Limited
Liability Partnership organized and existing by virtue of the laws of the District of
Columbia, and may be served with process by service upon Williams & Connolly LLP,
located at 725 12" Street, NW, Washington, DC 20005, ATTN: Jennifer Scott, Executive

Director.

3. All of the acts and/or failures to act alleged herein were duly performed by and/or are
attributable to defendant, individually or acting by and through its fiduciary agents and

employees.

4. Said acts and/or failures to act were within the scope of any agency or employment, or

were ratified by defendants.
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lH. FACTS

5. Plaintiff is former Deputy Director of Finance of Williams & Connolly LLP (Defendant)

and was employed by Defendant for 19 % years.

6. Defendant Williams & Connolly LLP is a limited liability partnership performing legal

services located at 725 12'" Street, NW, Washington, DC 20005.

7. Plaintiff began working as the Assistant Controller for Defendant’s law firm on March
24, 1997 and worked for the Defendant for nearly twenty years. Plaintiff was promoted to the
position of Deputy Director of Finance on or around January 1, 2005. Plaintiff managed the
Annual Review and Tax Reporting, acted as the Tax Manager, acted as the Retirement Plan
Manager for five qualified retirement plans, oversaw Financial Reporting, and oversaw

Accounts Payable amongst other duties.

8. Plaintiff's claims are for willful FMLA Interference, under 29 CFR Section 825.220 —
Protection for employees who request leave or otherwise assert FMLA rights, The statute of
limitations is three years in this case. The last act in violation of FMLA was when the
Defendant’s Human Resource Director, Karen Gregory, finally designated the FMLA period for
the Plaintiff on 6/19/19 stating that the period ran from 8/17/15 until 12/11/15, almost four
years after FMLA request was made on 8/26/15. This was the defendant’s first attempt to make
Plaintiff aware of what her FMLA leave period was determined to be. This designation was to
have occurred within the first five days of Defendant having all of the required doctor’s
certifications which would likely have been received by 9/4/16 by the Defendant and UNUM,

the long-term disability insurance company. 29 CFR Section 825.301.
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A prior violation to the above-mentioned one was that Defendant would not allow the Plaintiff,
during her alleged period of FMLA leave, to use her accrued vacation leave after her other paid
leave ran out on 11/15/15 and required that the accrued vacation leave remaining be held until
termination. Plaintiff was made to wait until the day she received a termination letter on
10/6/16 to receive a check for her accrued paid leave which should have been received
during FMLA. Plaintiff was made to wait almost a year for these earnings while Defendant
remained in violation of FMLA regulations and held onto the money and earned interest
thereon. This type of economic harm is in violation of FMLA regulations 29 CFR Section 825.207
— Substitution of Paid Leave. So whether you determine the last act to be on 6/19/19 when the
Defendant is still trying to catch up on the FMLA work that they failed to do during 2015 and
provide a designation of the FMLA period or you determine the last act to be the date on which
the Defendant finally attempted to remedy their substitution of paid leave violation and paid
out the Plaintiff’s accrued vacation balance on 10/6/16 when the Plaintiff was notified of her
termination, Plaintiff will be timely filed if filing for willful FMLA interference is made on or

before 10/6/19.

9. Plaintiff had at least three protected activities occurring from the time she took FMLA until
the time she was terminated from her employment at Williams & Connolly LLP. These
protected activities were as follows: Plaintiff began the process of seeking leave and ultimately
FMLA on 8/13/15 when she developed a serious medical condition; Plaintiff began seeking
short-term disability coverage and long-term disability coverage at about the same time;
Plaintiff incurred significant medical costs in August 2016 which were paid by the Defendant’s

self-insured plan managed by United Healthcare; Plaintiff was still seeking to attain a benefit in
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the Williams & Connolly LLP Group Long-Term Disability Plan when she was terminated on

10/5/16.

10. FMLA interference has only two requirements: (1) that the employer somehow interfered,
restrained, or denied the exercise of FMLA rights, and (2) that the interference directly resulted
in monetary loss to the employee. Plaintiff will show evidence of FMLA interference described

throughout this claim.

11. Regarding FMLA Interference, the Department of Labor, in Section 105 of the FMLA and
section 825.220 of the FMLA regulations, states that the following actions are prohibited: “An
employer is prohibited from interfering with, restraining, or denying the exercise of, or the
attempt to exercise, any FMLA right. In FMLA interference, examples of prohibited conduct
include: refusing to authorize FMLA leave for an eligible employee, discouraging an employee
from using FMLA leave, an employer’s failure to follow notice requirements and causing harm
as a direct result. Any violations of the FMLA or the Department of Labor’s regulations

constitute interfering with, restraining, or denying the exercise of rights provided by the FMLA.

12. BURDEN OF PROOF WHEN EMPLOYEE HAS A SERIOUS MEDICAL CONDITION, it has
been established that when an employee provides notice to the Human Resources Department
of a serious medical condition that is, or is likely to become, an FMLA-qualifying condition, such
notice shifts to the employer the burden of (1) informing the employee of any applicable FMLA
rights, and (2) how to exercise those rights. (See Reeder vs. County of Wayne, Michigan).
Defendant’s Human Resources (HR) Department was made aware of Plaintiff’s serious medical

condition by August 13, 2015. Plaintiff contends that Defendant and its agents did not properly
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assume the burden of informing Plaintiff of her FMLA rights, nor did Defendant take proper
measures to ensure that Plaintiff had the requisite information and notifications, including an

FMLA approval or FMLA-qualifying designation notice and/or the opportunity to enter into a

written leave agreement covering all of the benefits, which is required to be offered according
to the Williams & Connolly LLP Benefits Plan once you are qualified for FMLA.; or notice of the
new FMLA clause that Defendant seeks to enforce against the Plaintiff and that is contained in
the retroactive plan amendments which would cause Plaintiff’s benefits to cease on the fast day

of the FMLA leave period. 29 CFR Section 825.301 — Designation of FMLA leave.

13. LACK OF DESIGNATION NOTICE An employer must designate FMLA requested leave as
such and provide an employee with timely notification of such a designation under 29 CFR
Section 825.300. An employer’s failure to follow notice requirements may constitute an
interference with an employee’s FMLA rights and may make an employer liable for harms as
a direct result of the violation. See 29 CFR Section 825.400 (c). In the J. Gordon case in the D.C.
Circuit Court in 2015, the court determined that “an employer action with a reasonable
tendency” to interfere with an FMLA right may support a valid interference claim “even where
the action fails to actually prevent such exercise or attempt.” ** Plaintiff in this case did not
ever receive an FMLA designation notice denoting approval of FMLA and the only time that
Defendant designated dates of FMLA leave was on 6/19/19, almost four years after the initial
request for FMLA was made. This represents a clear case of interference with an employee’s

FMLA rights. 29 CFR Section 825-301 — Designation of Leave.
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14. CAUSAL EFFECT OF LACK OF DESIGNATION NOTICE ON RIGHTS AND RESPONSIBILITIES
IN OTHER BENEFIT PLANS AND HARM CAUSED: In the Williams & Connolly LLP Benefits Plan, it
states that “As soon as administratively feasible after a Participant qualifies for an FMLA Leave,
the Plan Administrator shall give the Participant the opportunity to choose in writing between
continued coverage during the FMLA Leave, or of suspending coverage for such leave’s
duration.” The lack of a designation notice qualifying the FMLA of the Plaintiff caused the
Plaintiff to not be given the opportunity to enter into a written leave agreement as required by
the Williams & Connolly LLP Benefits Plan. The designation notice acts as the trigger for a
participant to be provided with the opportunity to enter into written leave agreement. The
issues of benefits would have been clearly laid out in a written leave agreement had there been
one. This leave agreement would have made it clear when benefits were provided or when they
would not be provided so that all parties were knowledgeable. Plaintiff would have been able
to gather additional information through this process so that she would understand in advance
how her benefits would be handled and could have determined the action that she needed to
take so as to not lose the opportunity to receive her long-term disability benefits. If new
retroactive amendments were going to be enforced upon Plaintiff with them not having been
distributed to the Plaintiff in a timely manner, she would have been able to dispute the
propriety of that situation immediately. Instead, everything was just sprung on Plaintiff without
her having ever been properly informed. Plaintiff got no notices or information and was kept in
the dark and when she was given information, the material changes were left out, such as when
in the Fall of 2015 that the Plaintiff was given a copy of the Summary Plan Description of the

Williams & Connolly LLP Long-Term Disability Plan in respect of Amendment #19, the material
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modification that had been made in adding the “FMLA clause” which causes benefits to cease
upon the end of FMLA had been removed. It must be remembered that Plaintiff was very ill and
needed assistance with gathering the important information and the burden was on the
Defendant to make sure that Plaintiff had accurate, timely and verified information that was

properly derived.

Besides the lack of a designation notice required under 29 CFR Section 825-301 causing the
Plaintiff to not receive the opportunity to enter into a written leave agreement and gaining the
information this would provide and being able to take various actions based upon the
information; in the Williams & Connolly LLP Long-Term Disability Plan, with this addition of two
new retroactive plan amendments, whether or not leave has been designated now has new
implications and importance regarding whether or not one’s benefits continue beyond the
FMLA leave end date. While Plaintiff was never informed of this new FMLA clause in the plan,
Defendant is attempting to enforce this new plan language on the Plaintiff and because of this,
and without having a written leave agreement locking down benefits, having designated FMLA
does cause Plaintiff harm. The harm caused was losing her disability benefits in the Williams &
Connolly LLP Group Long-Term Disability Plan with a value of $1,370,636 due to lack of
coverage in the Plan. Plaintiff would have been covered, but for the loss of coverage due to
what should be an “unenforceable plan change” because proper procedures were not followed
in creating the plan amendment, nor in disseminating the material changes to plan participants.
Additionally, Plaintiff's disability coverage would not have been lost except for the false claim
that Plaintiff's FMLA was designated and approved when it was not. Accordingly, if Plaintiff

were to be asked by Defendant now if she would be in agreement to approving a Retroactive
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FMLA Designation notice according to 29 CFR Section 825-301, she would say no based on the
new information that she has finally been able to obtain. Plaintiff would like to see the
documentation that Defendant sent to UNUM wherein there must be some sort of designation
of FMLA leave of Plaintiff for which Plaintiff was never informed. Plaintiff would like to know
where UNUM got the idea that Plaintiff’s leave was ever approved according to FMLA
regulations. It is a fact that UNUM has stated that Williams & Connolly LLP will not allow the

release of Plaintiff’s short-term disability claim file.

The FMLA leave served only to benefit the Defendant as a means to end the employer-
employee relationship without paying out any new long-term disability benefits. Since Plaintiff
was not given a designation notice, Plaintiff believes that Defendant should not have been able
to consider Plaintiff “approved” for FMLA leave for purposes of triggering clauses in the
Williams & Connolly LLP Group Long-Term Disability Plan to cause a loss of benefits to Plaintiff
when Defendant did not follow FMLA regulations and do what it takes to inform Plaintiff and

properly “approve” or designate Plaintiff’s leave as FMLA-qualifying.

15. FMLA INTERFERENCE - Plaintiff asserts that defendant enticed Plaintiff to accept FMLA
when Plaintiff first announced her need to take time off from work to figure out the causes of
her seriously deteriorating mental health conditions. The Benefits Administrator encouraged
her to take FMLA leave and that she “would be Protected.” However, the Benefits
Administrator never told Plaintiff the date on which that protection would end and what the
impact of that would be on her benefits. Plaintiff also contends that Defendant’s Human
Resource employee, Sandy Reynolds; and the Benefits Administrator, Laurie Jackson; along with

the Director of Human Resources, Karen Gregory, all contributed to interference which
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prevented Plaintiff from learning material information regarding employee’s rights and
responsibilities when seeking FMLA, including learning about Defendant’s newly adopted FMLA
clause, used to determine when employees lose benefits and thereby denying Plaintiff her
FMLA rights and subjecting Plaintiff to an adverse benefit determination from UNUM when her
coverage ceased after FMLA ended. Whether through negligence or deliberate obfuscation and
manipulation, Defendant did not inform Plaintiff of this significant new policy change in
Defendant’s group long-term disability insurance plan which would ultimately impact Plaintiff's

right to coverage in the Defendant’s group disability plan.

In 2016, Defendant disregarded the Williams & Connolly LLP Group Long-Term Disability
Insurance policy which had been effective since 2008 and which was distributed to Plaintiff in
November 2013, as a result of Plaintiff’s request for the policy so that she could complete an
insurance review by her broker at Howard Phillips & Co. This 2008 policy did not contain this
“FMLA clause” causing a participant’s coverage to cease on the last day of FMLA. Had UNUM
and the Defendant enforced the 2008 policy which had been distributed to the Plaintiff,
Plaintiff would be a covered recipient of the Williams & Connolly Group Long-Term Disability
benefits. Instead, Defendant has interjected two retroactive amendments at least one of which
was made retroactive too far back to be able to even suggest that you could distribute the
summary plan description in a timely manner to participants and we know that a 2010 plan did
not exist in late 2013 as the Benefits Department was giving out 2008 plans as the active plans
at that time. It appears that the 2010 amendment would have had to have been created after
late 2013 and most likely was created in late 2015 when the 2014 amendment was also being

created. Defendant has not made any attempt to get any of the amendments fully distributed
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to participants, including Plaintiff. The distribution to Plaintiff was just a half-hearted attempt to
deliver the Summary Plan Description for the group disability plan in name only, the material
change was not even included in the package provided to the Plaintiff in the Fall of 2015. It
appears that the reason that Plan Amendment #18 and #19 were created at the same time in or
around late 2015 is to be able to house the participant-related modifications in an “old” hard to
litigate amendment with a time period of 2010 and to house the employer-related
administrative changes in the newer amendment because it would not be likely that the
participant would dispute those administrative changes. Having two amendments serves to
deflect attention away from the material amendment that contains that which one may desire
to obfuscate like the “FMLA clause” that ends participants benefits just when they may be

needing them the most.

Interestingly, the Plan Amendment #19 which was made effective on 6/1/14 includes new
Enrollment Services and Risk Management Services and other services. It appears to Plaintiff
that one of the first recommendations of UNUM as the new Risk Manager, in addition to
insurer, was to add these retroactive amendments and set up this new FMLA clause which
causes a drop-dead date for the end of benefits. That must be one of UNUM’s top tricks for

reducing benefits costs and they needed to get that set up right away.

Plaintiff suffered a hasty termination without communication from her place of employment on
10/5/16 and was informed of that decision on 10/6/16. To have allowed Plaintiff to remain
employed would have allowed her to file a new claim to attempt to attain her ERISA benefits in

the employee benefit welfare plan known as the Williams & Connolly LLP Long-Term Disability
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Plan and that was the primary thing that Defendant was seeking to avoid by way of all of the

FMLA interference and manipulation.

“VACATION TIME” AND “PERIODS OF DISABILITY” ARE NOT BOUND BY THE LEAVE OF
ABSENCE PROVISIONS AND ARE CONSIDERED “ACTIVE EMPLOYMENT.” Defendant was
negligent in not acting on a provision in the Williams & Connolly LLP Group Long-Term Disability
Plan that would have required that Plaintiff to be covered under the plan despite the new
retroactive amendments, that being the “periods of disability” provision which states that
“vacation time” and “periods of disability” are not bound by the leave of absence provisions
and therefore to be covered by the Defendant’s benefit plans as they are considered “active
employment.” UNUM also shared with Plaintiff and Laurie Jackson, the Benefits Administrator,
that their doctors did find that Plaintiff does have sufficient evidence of a disability or period of
impairment that began on 7/2016. According to the Williams & Connolly LLP Group Long-Term
Disability policy, Plaintiff should have been covered by insurance when Plaintiff was found to
have a disability by UNUM. Instead, Defendant and UNUM rescinded plaintiffs long-term
disability coverage on 9/28/16 going back nine months to 12/10/15, the purported last day of
FMLA. They did this just two days before, and on the eve of, Plaintiff being covered in the Long-
Term Disability Plan. Nevertheless, due to this continued interference, Plaintiff was not covered
by the Plan. Plaintiff was informed of her benefit denial in the Williams & Connolly LLP Group
Long-Term Disability Plan on 10/6/16 and it was in this denial letter that Plaintiff first saw what

is being termed here the “FMLA clause.”

There are several factors that led to this benefit denial: two “unenforceable amendments” to

the LTD Plan which were not distributed or shared in any way; failure to designate FMLA
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leading to and causing failure to have a written leave and benefits agreement; and lastly a false
claim made by the Defendant to UNUM alleging that Plaintiff was approved for FMLA leave
when, in fact, Plaintiff was never notified of her approval of FMLA or that her feave was FMLA-
qualified by way of a designation notice and according to FMLA regulations. Accordingly,
Plaintiff seeks the value of her lost benefits in the Williams & Connolly LLP Group Long-Term
Disability Plan in the amount of $1,370,636 due to the interference that she has suffered in her
attempt to take Family and Medical Leave Act leave an attain a benefit in the group disability

plan.

LISTING OF FMLA FAILURES OR INTERFERENCE — Plaintiff has violated numerous FMLA
regulations. Below is a list of some of the violations; interference; prohibited conduct,
improprieties and breaches of the Family Medical Leave Act of 1993 by the Defendant Williams
& Connolly LLP, aka The Plan Administrator of the Benefits Plan, and all violations are in
keeping with the belief that Plaintiff was not provided with the protections of the Family
Medical Leave Act of 1993 that she had been told that she was eligible for, an act that is to
provide protections for employees and their families. You will see by the manner in which
business was transacted that FMLA was not a consideration when Williams & Connolly LLP
would not allow Plaintiff to use her own accrued paid leave during FMLA and left her and her
family, instead, without pay; or where FMLA and Plaintiff's serious medical condition was not
recognized for purposes of Plaintiff being able to change her benefits due to a status change; or
where Plaintiff was not allowed to enter into a written leave agreement and make
arrangements to prepay her health insurance premiums at the end of 2015. These are just a

few examples of where Williams & Connolly LLP through the FMLA regulations to the wind. Yet,
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when it was beneficial for them, Defendant claimed that Plaintiff was fully covered by FMLA

regulations.

1. Leave was never officially approved and placed in writing (this was done most likely
to avoid triggering requirements in other employee benefit welfare plans such as the
Benefits Plan which would require a written leave agreement); An employer’s failure
to follow notice requirements may constitute an interference with an employee’s
FMLA rights and may make an employer liable for harms as a direct result of the
violation. See 29 CFR Section 825.400 (c).

2. Discouraging an employee from using FMLA leave (Plaintiff's boss said, “Are you sure
you really want to do this?” making it sound like it was a very dangerous thing to do.
Plaintiff does believe that her boss did share a concern for what might be about to
happen and what the results would be. Of course, he was right in the end.) 29 CFR
Section 105 of the FMLA

3. Failure to inform of new policies and new material plan amendments that cause a
significant reduction in benefits that require that benefits such as long-term
disability coverage be eliminated upon reaching the end of an approved FMLA; when
a summary plan description for the group disability plan was provided, the new
“FMLA clause” had been removed from the document so as to conceal its contents,
29 CFR Section 825.300;

4. Failure to inform how to exercise one’s FMLA rights, CFR Section 825.300;

5. Failure to have or make available an FMLA Handbook, CFR Section 825.300;
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Failure to provide a General Notice for FMLA upon hiring or thereafter, 29 CFR
Section 825.300;

Failure to provide a Rights & Responsibilities Notice for FMLA accompanied by the
required Certification of Health Care Provider for Employee’s Serious Health
Condition FMLA form. Plaintiff was not given a Certification of Health Care Form, 29
CFR Section 825.300 (b), (c);

Failure to provide notice of the employee’s right to substitute paid leave, whether
the employer will require the substitute of paid leave, the conditions related to any
substitution, and the employee’s entitlement to take unpaid FMLA leave if the
employee does not meet the conditions for paid teave; Ms. Holden was not allowed
to use paid vacation for any unpaid leave after her 11 weeks of paid short-term
disability leave ran out, but this is in keeping with the fact that | didn’t have an
approved FMLA. This created a hardship on Ms. Holden’s family. 29 CFR Section
825.200;

While the plan administrator failed to allow Ms. Holden the opportunity to use her
own accrued vacation during FMLA, the plan administrator used Ms. Holden’s
accrued vacation leave for their own purposes as a vehicle to temporarily pay Ms.
Holden until her short-term disability benefit was approved and available and then a
reclass was done in payroll. This happened three times over a three-month period as
the approvals were dragged out painstakingly slowly just to cause further pain.
According to FMLA regulations, the employer is not allowed to use leave

concurrently with FMLA unless it is already earned. At a minimum, Ms. Holden
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10.

11.

12.

13.

alleges that she should be allowed 13 weeks of short-term disability leave, which
includes the 2-week elimination period, and 16 weeks of total FMLA as allowed in
the District of Columbia, and her period of FMLA should be designated as occurring
from 9/4/15 through 3/25/16. 29 CFR Section 825.207.

Failure to disallow concurrent usage of short-term disability leave and FMLA leave
due to harm caused by lack of a Designation Notice; this caused employee to lose
significant benefits at an earlier date such as LTD coverage, two weeks of Paid Time
Off at the beginning of 2016 amounting to $8,700; vacation accruals of $5,800; With
consecutive running of short-term disability and FMLA totaling 29 weeks,
employee’s FMLA end date would have been no sooner than March 25, 2016, 29
CFR Section 825.207;

Failure to establish a proper beginning date for FMLA leave after all medical
certification information was supplied and received around September 4, 2015, not
August 17, 2015 or August 24 2015, as the second certification received by Plaintiff's
employer from one of her doctors was not signed off on until September 2, 2015, 29
CFR 825-301;

Failure to provide notice of the employee’s rights to maintenance of benefits during
the FMLA leave and restoration to the same or an equivalent job upon return from
FMLA leave; 29 CFR Section 825.300.

Failure to provide notice of rights and responsibilities may include other information
specifically required by the employer such as a written leave agreement to be

offered by the plan administrator; information on the new material plan
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14.

15.

16.

amendment that caused a significant reduction in benefits; the summary plan
description of the Williams & Connolly LLP Benefits Plan, and the summary plan
description of the Williams & Connolly Health Plan. These summary plan
descriptions were not provided to Plaintiff until 2019. 29 CFR Section 825.300.
Failure to provide the rights and responsibilities information a second time within
five days of going from paid FMLA leave to unpaid FMLA leave. (Regs. State: If the
specific information provided by the notice of rights and responsibilities changes,
the employer shall, within five business days of receipt of the employee's first notice
of need for leave subsequent to any change, provide written notice referencing the
prior notice and setting forth any of the information in the notice of rights and
responsibilities that has changed. For example, if the initial leave period was paid
leave and the subsequent leave period would be unpaid leave, the employer may
need to give notice of the arrangements for making premium payments.), 29 CFR
Section 825.300;

Failure to provide employee with a chance to change her benefit elections due to an
FMLA-leave qualifying status change related to a Serious Health Condition i.e. Ms.
Holden was not given the opportunity to discontinue her health flex spending during
her time on FMLA. Ms. Holden would have done so had she been made aware of this
opportunity. She was made to pay the full $106.25 for 9 pay periods for a total of
$956.25., 26 CFR Section 1.125-3 — Effect of FMA on the operation of cafeteria plans;
Failure to allow usage of Accrued Paid Leave such as Vacation Pay during FMLA

which is required. Not only was Ms. Holden not allowed to be paid out the vacation
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17.

20.

21.

pay, but Plaintiff wasn’t allowed to use vacation pay funds to pay for any benefit
premiums. All failures created a hardship for Plaintiff and her family. Instead,
Plaintiff was told on 6/2/16 that she had 161.75 hours of accrued vacation and “As
you know, the balance of your vacation will be paid out when your employment with
the Firm terminates. This amount is not a cash reserve and account during we
cannot apply this unused vacation time toward your family health insurance
premium, 29 CFR Section 825.207 — Substitution of Paid Leave;”

Failure under FMLA to provide the 2016 Benefits Open Enrollment Memo which is
available at the Benefits Health Fair for current employees and which provides
detailed information on the health plan and other plans and despite Laurie Jackson
telling Plaintiff on 11/16/15 by email that she would provide this information, 26
CFR Section 1.125-3 — Effect of FMLA on the operation of cafeteria plans;

Failure under FMLA to offer Ms. Holden the opportunity to make election changes in
the Benefits Enrollment period beginning in the Fall of 2015 for changes to be
effective on 1/1/16, 26 CFR Section 1.125-3 — Effect of FMLA on the operation of
cafeteria plans;

Failure under FMLA guidance in the Witliams & Connolly LLP Benefits Plan to allow
employee to advance the payment of benefit premiums by way of her last check
prior to being unpaid. Instead, Ms. Holden asked at the end of 2015 about payroll
making a correction in order to get the pre-tax benefit on the funds she had just
remitted for her November and December payment and she was told that the IRS

doesn’t allow this. This is a loss to Plaintiff in the amount of $991.94. This would only
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have been the correction of the employer's error and advanced withholding is
clearly spelled out in the Benefits Plan or Flex Plan as an option 26 CFR Section
1.125-3 — Effect of FMLA on the operation of cafeteria plans.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests that this Court grant her the following relief in this
case: On Plaintiff’s First Cause of Action:
. A finding in favor of Plaintiff against the Defendant;
Damages to recover from the harm that resulted from Defendant’s interference with
Plaintiff's rights under both FMLA and ERISA and their faulty claim that Plaintiff was
approved for FMLA when Defendant never took the proper steps to have Plaintiff's
leave FMLA-qualified. Damages equal $1,370,636 or the amount of lost benefits in
the Williams & Connolly LLP Group Long-Term Disability Plan.
Damages for the 2016 accrual of Paid Time Off in an amount to be determined
estimated to be approximately $8,700.
4. Damages for additional vacation accrual in an amount to be determined, but
estimated to be around $5,800.
Damages for the 2015 Flexible Spending Amount that would have been cancelled
had Plaintiff been given the proper opportunity to make an election change at the
beginning of her serious illness in the amount of $956.25 26 CFR Section 1.125-3.
Damages to recover the tax savings lost on 2015 health insurance paid between
November 16, 2015 and December 31, 2015 by virtue of not being informed that |

could prepay these costs so that | would get the tax benefit thereon, $991.94.
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7. Damages for accrued interest have not yet been determined.

8. The grand total of charges equals approximately $1,387,084.10.
Respectfully submitted
BY: Wiek Kt! alder

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